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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION
                                         www.flsb.uscourts.gov

    In re:                                                    Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                      Case No. 22-17842 (PDR)
                                                              (Jointly Administered)
             Debtors.1
                                              /

   DEBTORS’ OMNIBUS REPLY TO OBJECTIONS TO DEBTORS’ EMERGENCY
  MOTION FOR INTERIM AND FINAL ORDERS (I) APPROVING POSTPETITION
  FINANCING, (II) AUTHORIZING USE OF CASH COLLATERAL, (III) GRANTING
LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS,
(IV) GRANTING ADEQUATE PROTECTION, (V) MODIFYING AUTOMATIC STAY,
 (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”)

submit this omnibus reply (this “Reply”) in support of the Debtors’ Emergency Motion for Interim

and Final Orders (I) Approving Postpetition Financing, (II) Authorizing Use of Cash Collateral,

(III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting

Adequate Protection, (V) Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and

(VII) Granting Related Relief [ECF No. 24] (the “Motion”)2 and in response to the nine objections

and joinders thereto (the “Objections”),3 and respectfully represent as follows:



1
      The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
      tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454);
      (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash
      Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales,
      Inc. (8019).
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion or the DIP
      Credit Agreement, as applicable.
3
      The “Objections” are, collectively: (i) the objection of the Maricopa County Treasurer (“Maricopa County”) [ECF
      No. 220] (the “Maricopa County Objection”); (ii) the objection of Faith Technologies, Inc. (“FTI”) [ECF No.
      256] (the “FTI Objection”); (iii) the objection of HACI Mechanical Contractors, Inc. (“HACI”) [ECF No. 259]
      (the “HACI Objection”); (iv) the objection of the United States Trustee (the “U.S. Trustee”) [ECF No. 267] (the
      “UST Objection”); (v) the objection of Monster Energy Company (“Monster”) [ECF No. 411] (the “Monster
      Objection”); (vi) the objection of the Official Committee of Unsecured Creditors (the “Committee”) [ECF No.
      413] (the “Committee Objection”); (vii) the objection of Stellar Group, Inc. (“Stellar”) [ECF No. 412] (the “Stellar
      Objection”); (viii) the joinder by Orange Bang, Inc. (“Orange Bang”) to the Monster Objection [ECF No. 414]


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                                   PRELIMINARY STATEMENT

          1.    Notwithstanding the Objections, there does not appear to be any meaningful dispute

that: (i) the Debtors require the DIP Facility and the use of cash collateral thereunder to operate

their business, fund these chapter 11 cases, and, ultimately, maximize the value of their bankruptcy

estates; (ii) there is no better or alternative postpetition financing available to the Debtors to

accomplish those (or any other) objectives, whether on an unsecured, junior secured, or priming

lien basis; and (iii) the terms of the DIP Facility were bargained for in good faith and at arms’

length.

          2.    Rather than challenge any of the foregoing, the Objections take issue with

individual terms of the DIP Facility, such as the Roll Up, the case milestones, the waiver of the

estates’ surcharge rights under section 506(c) of the Bankruptcy Code, and others. The Objections

brush aside the fact that each of these terms are part of a larger, comprehensive bargain struck

among the Debtors, the DIP Lenders and the Prepetition Secured Parties that secures $100 million

of new money financing for the Debtors. While the Debtors would have welcomed $100 million

of unsecured, “no-strings-attached” financing, that option was (and is) unavailable.

          3.    It would not be realistic to expect this lender group (or any other) to forgo

commonplace and appropriate protections for postpetition lenders of the sort contained in the DIP

Facility. The DIP Lenders have nevertheless agreed to numerous concessions during both

prepetition and postpetition negotiations with the Debtors and other parties in interest, including

the objecting parties. Such concessions, which, are subject to resolution of the Governance

Changes (as defined below) include (among others): a $120 million reduction in the maximum



    (“Orange Bang Joinder”); and (ix) the joinder by the American Bottling Company (“American Bottling”) to the
    Monster Objection [ECF No. 415] (the “American Bottling Joinder”). Contemporaneously filed herewith, is a
    table summarizing all formal and informal objections received by the Debtors and their responses thereto,
    including those objections that have been consensually addressed and resolved (such table, the “Summary
    Objection Chart”).
                                                      2
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amount of the Roll Up, limitations on the lenders’ liens on and recourse to certain litigation claims,

extended milestones and DIP maturity, and an extension of the challenge period and increase in

the committee investigation budget, are set forth in the proposed final DIP order filed

contemporaneously herewith (the “Final Order”)4 and are described in paragraph 14, below.

         4.      These compromises resolve the Committee’s Objection to the terms of the DIP

Facility, though the Committee’s governance-related objections remain open. Accordingly, the

terms of the DIP Facility (excepting governance) now enjoy the support of both estate fiduciaries.

Given the significant overlap between the issues raised in the Committee Objection and the

Objections filed by Monster and the U.S. Trustee (e.g., the Roll Up, 506(c)/equities of case

waivers, the DIP Lenders’ and Prepetition Lenders’ recourse to litigation claims), the Debtors are

hopeful that the proposed resolution of the Committee Objection creates an opportunity to build

additional consensus in advance of the hearing on entry of the Final Order. Additionally, as

discussed in greater detail below, the Debtors and DIP Lenders have agreed to enhance the

protections offered to the Arizona Mechanics’ Lienholders under the Final Order in a manner that

should leave no doubt that such lienholders are receiving adequate protection. Whether or not

these concessions yield unanimous agreement, however, it is clear that the terms of the DIP Facility

– particularly as modified by the proposed Final Order – are fair and reasonable and otherwise

satisfy the requirements of the Bankruptcy Code.

         5.      Finally, as previewed at the December 6 hearing, the DIP Lenders have requested

changes to the Debtors’ boards (the “Board”) as well as certain other modifications to the Debtors’

governance framework, including: (i) appointment of a replacement director deemed independent

by the DIP Lenders to fill the vacancy left by Ms. Cole on the Board; (ii) replacement of one of



4
    A redline of the proposed Final Order against the Interim Order (defined below) entered by the Court is filed
    contemporaneously herewith.
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two Board members (either Dr. Escalante or Mr. Hillman) with a new director deemed independent

by the DIP Lenders; and (iii) formalization of the scope of authority of, and reporting structure

applicable to, the Debtors’ Chief Transformation Officer, John DiDonato ((i)-(iii) collectively, the

“Governance Changes”).5 While certain of these issues have been addressed – specifically

agreement with respect to the Debtors’ appointment of Mr. Robert Dickinson as the replacement

director for Ms. Cole – the Debtors are still considering the remaining governance-related issues

and continue to engage in discussions with the DIP Lenders with respect to all open points. In

such discussions with the Debtors, the DIP Lenders have made clear that they will not provide

funds under the DIP Facility absent a resolution on all of the Governance Changes requested by

the DIP Lenders, and the parties are hopeful that a resolution will be reached prior to the final

hearing on the DIP Facility.6

                                                BACKGROUND

         A.       General Background

         6.       On October 10, 2022 (the “Petition Date”), the Debtors filed the Motion.

         7.       On November 1, 2022, the Office of the U.S. Trustee appointed the Committee.7

         8.       On October 14, 2022, the Court entered the Interim Order (I) Approving

Postpetition Financing, (II) Authorizing Use of Cash Collateral, (III) Granting Liens and

Providing, Superpriority Administrative Expense Status, (IV) Granting Adequate Protection,




5
    Hr’g Tr. at 11:11-16, In re Vital Pharmaceuticals, Inc., No. 22-17842 (PDR) (Bankr. S.D. Fla. Dec. 6, 2022)
    (Debtors’ counsel stating that “[f]ollowing Ms. Cole’s departure, the lenders indicated to us that they would
    require certain changes to the governance requirements in our DIP facility in order to be comfortable proceeding
    with the DIP, that included accommodations that were designed to address, and ideally resolve the outstanding
    DIP objections.”).
6
    The Debtors will endeavor to file a status update on the docket prior to the final hearing on the DIP Facility to the
    extent that there is one to provide.
7
    The U.S. Trustee reconstituted the Committee on November 23, 2022. See ECF Nos. 408-7.
                                                           4
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(V) Modifying Automatic Stay, (VI)Scheduling a Final Hearing, and (VII) Granting Related Relief

[ECF No. 122] (the “Interim Order”) approving the Motion on an interim basis.

         9.      The Debtors continue to the manage and operate their businesses and properties as

debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

         B.      Factual Support

         10.     On the Petition Date the Debtors filed the Declaration of Homer Parkhill in Support

of DIP Financing [ECF. No. 25] (the “Initial Parkhill Declaration”).

         11.     On November 21, 2022 the Debtors filed the Supplemental Declaration of Homer

Parkhill in Support of DIP Financing [ECF. No. 388] (the “First Supplemental Parkhill

Declaration”).

         12.     Contemporaneously herewith, the Debtors filed (i) the Second Supplemental

Declaration of Homer Parkhill in Support of DIP Financing (the “Second Supplemental Parkhill

Declaration”), and (ii) and the Declaration of John C. DiDonato in Support of DIP Financing (the

“DiDonato Declaration”).

         13.     The facts in support of approval of the Final Order are set forth in (i) the Motion,

(ii) the Initial Parkhill Declaration, (iii) the First Supplemental Parkhill Declaration, (iv) the

Second Supplemental Parkhill Declaration, and (v) the DiDonato Declaration (collectively, (ii)-

(v), the “Declarations”). Each Declaration is incorporated herein by reference. The Debtors

reserve all rights to supplement the factual record in support of the Motion with additional

testimony and evidence at the final hearing with respect to the Motion.

         C.      DIP Lender Concessions Since Interim Hearing

         14.     The Debtors and DIP Lenders have been in discussions with the Committee and

other objectors throughout the period between the Interim Hearing and the final hearing in an effort




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to resolve and/or narrow the issues raised in the Objections. As a result of those discussions, the

DIP Lenders have agreed to a number of concessions, including the following:

              •    Reducing and modifying the Roll Up. The Roll Up, originally set to cover up to
                   a maximum amount of approximately $355 million in outstanding Prepetition
                   Obligations, is now proposed to be $235 million. The Roll Up will also “deem”
                   such $235 million of outstanding rolled-up Prepetition Obligations to be repaid by
                   $235 million of DIP Obligations upon entry of the Final Order, and will no longer
                   contain the “creeping” component.8

              •    Placing limitations on the DIP Collateral.

                       o The DIP Liens securing the non-Roll Up portion of the DIP Facility (i.e.,
                         up to $100 million) will be secured by the DIP Collateral (which excludes,
                         for the avoidance of doubt, Prepetition Avoidance Actions9 and their
                         proceeds). With respect to such collateral, the DIP Agent and the DIP
                         Lenders have agreed to seek recourse first from DIP Collateral not
                         constituting Commercial Tort Claims (as defined in the Uniform
                         Commercial Code as enacted by the State of New York) against insiders or
                         affiliates (as such terms are defined in section 101 of the Bankruptcy Code)
                         before exhausting all avenues of recovering from other DIP Collateral.10

                       o The DIP Liens securing the Roll Up portion of the DIP Facility (i.e.,
                         $235 million) will continue not to attach to Prepetition Avoidance Actions
                         or their proceeds, and will also not attach to (i) claims and causes of action
                         available to the Debtors or their estates under sections 549 and 550 of the
                         Bankruptcy Code (to the extent that such avoidance actions arise under
                         section 549 of the Bankruptcy Code), against insiders, affiliates, or any
                         other person or entity (as such terms are defined in section 101 of the
                         Bankruptcy Code), and (ii) Commercial Tort Claims that do not already
                         constitute Prepetition Collateral.11

              •    Placing Limitations on the DIP Superpriority Claim.

                       o The DIP Superpriority Claim related to the DIP Obligations constituting the
                         non-Roll Up portion of the DIP Obligations (i.e., up to $100 million) will
                         not have recourse to proceeds or property recovered in connection with
                         claims and causes of action available to the Debtors or their estates through
                         the exercise of the powers granted by section 547 of the Bankruptcy Code
                         (against insiders, affiliates, or any other person or entity (as such terms are

8
     See Final Order ¶ 15(iii).
9
     “Prepetition Avoidance Actions” are defined in the Final Order as: claims and causes of action available to the
     Debtors or their estates through the exercise of the powers granted by sections 544, 545, 547, 548, 550 (other than
     with respect to any applicability to section 549) and 553 of the Bankruptcy Code.
10
     See Final Order ¶ 61(a)(i).
11
     See Final Order ¶ 61(a)(ii).
                                                           6
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                           defined in section 101 of the Bankruptcy Code)) and section 550 of the
                           Bankruptcy Code (with respect to any applicability to section 547) of the
                           Bankruptcy Code.12

                       o The DIP Superpriority Claim related to the DIP Obligations constituting the
                         Roll Up portion of the DIP Facility (i.e., $235 million) will not have
                         recourse to proceeds or property recovered in connection with the pursuit
                         of (i) Prepetition Avoidance Actions, (ii) claims and causes of action
                         available to the Debtors or their estates under sections 549 and 550 (that do
                         not arise under section 549 of the Bankruptcy Code) of the Bankruptcy
                         Code against insiders, affiliates, or any other person or entity (as such terms
                         are defined in section 101 of the Bankruptcy Code), and (iii) Commercial
                         Tort Claims that do not already constitute Prepetition Collateral.13

              •    Reduction of the Prepetition Secured Lenders’ Adequate Protection
                   Payments. Subject to the passage of the Challenge Period without a Challenge by
                   the Committee, the escalating interest rate in connection with the Prepetition
                   Obligations, on which the cash adequate protection payments payable on the non-
                   Rolled Up Prepetition Obligations are based, will be subject to a cap not to exceed
                   a certain “Agreed Rate”14—which is less than the contractual rate of interest to
                   which the Prepetition Lenders would otherwise be entitled.15 The Final Order
                   would preserve the Prepetition Lenders’ ability to recover any accrued interest in
                   excess from the cap from non-Debtor assets, and, subject to general unsecured
                   creditors receiving certain minimum recoveries, estate assets.

              •    Turnover to Debtors of certain non-Debtor real estate sale proceeds. Upon the
                   sale of real property owned by non-Debtor affiliates that constitute collateral for
                   the Prepetition Obligations, the Prepetition Agent shall deliver to the Debtors cash
                   proceeds equal to the actual and documented amount of postpetition costs and
                   expenses funded to the applicable non-Debtor affiliate by the estates. The
                   remaining proceeds shall be applied to the Prepetition Obligations, net of
                   reasonable and documented closing costs, expenses, and taxes.16




12
     See Final Order ¶ 61(b)(i). For clarity and the avoidance of doubt, The DIP Superpriority Claim related to the
     DIP Obligations constituting the non-Roll Up portion of the DIP Obligations (i.e., up to $100 million) will have
     recourse to Prepetition Avoidance Actions other than Prepetition Avoidance Actions pursuant to sections 547
     (against insiders, affiliates, or any other person or entity (as such terms are defined in section 101 of the
     Bankruptcy Code)) and 550 of the Bankruptcy Code (with respect to any applicability to section 547) of the
     Bankruptcy Code.
13
     See Final Order ¶61(b)(ii).
14
     The “Agreed Rate” means the Base Rate (as defined in the Prepetition Credit Agreement) (currently 7%, which
     will continue to float) plus the applicable spread (6.5% as of December 1, which will be fixed without any future
     escalation upon entry of a Final Order), plus the default rate of 2%, but in any event not less than 15% in total.
15
     See Final Order ¶ 61(c).
16
     See Final Order ¶ 61(d).
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               •    Extension of the maturity date. The DIP Facility maturity date will be extended
                    by two weeks, from May 10, 2023 to May 24, 2023.17

               •    Extension of the Transaction Milestone. The deadline for the Debtors to
                    (i) obtain Acceptable Financing, or (ii) if the Debtors pursue a Sale Transaction,
                    (a) obtain an order approving a bid procedures motion and setting an auction date,
                    (b) designate a “stalking horse,” and (c) file a motion seeking approval of the
                    “stalking horse” and related protections will be extended from January 23, 2023 to
                    March 13, 2023.18

               •    Inclusion of additional milestones. The following additional interim milestones
                    have been imposed upon the Debtors: (i) January 13, 2023 as the deadline to have
                    received at least one indication of interest regarding commitments for an
                    Acceptable Financing, (ii) January 27, 2023 as the deadline for the Debtors to have
                    filed a bid procedures motion, (iii) February 28, 2023 as the deadline to have held
                    a hearing on the bid procedures motion, (iv) March 31, 2023 as the deadline to have
                    obtained approval after a hearing to designate a “stalking horse”, (v) April 19, 2023
                    as the deadline to have held an auction (if the Debtors pursue the Sale Transaction),
                    and (vi) May 17, 2023 as the deadline to have consummated an Acceptable
                    Financing or Sale Transaction.19

               •    Increasing the Committee’s investigation budget. The Committee’s budget to
                    investigate potential Challenges will increase from $50,000 to $100,000.20

               •    Extending the Challenge Period. The Challenge Period for all parties in interest
                    will be extended from December 31, 2022 to January 16, 2023 (subject to automatic
                    tolling for filing a standing motion in accordance with the terms agreed to with
                    Monster at the Interim Hearing and memorialized in ¶ 40(b) of the Interim Order).21

               •    Granting the Committee standing to pursue a Challenge. The Committee will
                    be granted automatic standing to Challenge the nature, extent, or priority of liens
                    securing the Prepetition Obligations.22

         D.         Corporate Governance

         15.        Following discussions with the DIP Lenders, the Debtors have implemented certain

changes to the Board composition by filling the vacancy left by Ms. Cole with a new independent



17
     See Final Order ¶ 61(e).
18
     See Final Order ¶ 46(d).
19
     See Final Order ¶ 46(a)-(g).
20
     See Final Order ¶ 38.
21
     See Final Order ¶ 40(a).
22
     See Final Order ¶ 40(c).
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director, Mr. Robert Dickinson, the former President & CEO of Carnival Cruise Lines. Other

Governance Changes requested by the DIP Lenders include: replacing Dr. Escalante or Mr.

Hillman with a director deemed independent by the DIP Lenders, and formalizing the scope of

authority of, and reporting structure applicable to, the Debtors’ Chief Transformation Officer, John

DiDonato, as well as treating the Chief Transformation Officer as a “key man” whose resignation

or termination would trigger a default. The Debtors continue to engage in discussions with the

DIP Lenders with respect to all the Governance Changes, and are hopeful that a resolution will be

reached prior to the final hearing on the Motion.

                                                          REPLY

         A.       The DIP Facility Represents an Exercise of Sound Business Judgment and Is
                  In the Best Interests of the Debtors’ Estates and Stakeholders.

         16.      The Debtors have established, and no Objection has challenged, that the Debtors

have satisfied the standards required to access postpetition financing on a superpriority, priming

lien basis under sections 364(c) and 364(d) of the Bankruptcy Code.23 Once the requirements of

section 364 of the Bankruptcy Code have been met, the debtor must show that the terms of the

proposed postpetition financing are appropriate under the circumstances. See e.g., Bland v.

Farmworker Creditors, 308 B.R. 109, 113 (S.D. Ga. 2003) (“courts require the debtor basically to

show why ‘super-priority’ financing is a good idea.”). A debtor may meet this burden by

demonstrating satisfaction of a variety of factors, including, without limitation: (i) that the

proposed financing is an exercise of the debtor’s sound and reasonable business judgment, (ii) that

no alternative financing is available, (iii) that the proposed financing is necessary to the continued

operation of the debtor’s business and the preservation of the debtor’s estate, (iv) that the proposed

financing is in best interest of the estate and its creditors, and (v) that the financing agreement was



23
     See Motion ¶ 29; Initial Parkhill Decl. ¶¶ 14, 27.
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negotiated in good faith and at arms’ length between debtor and proposed lender. Id. at 113–14

(citing In re Farmland Indus., Inc., 294 B.R. 855, 880 (Bankr.W.D.Mo.2003)); see also In re W.

Pac. Airlines, Inc., 223 B.R. 567, 572 (Bankr. D. Colo. 1997) (“the Debtor has the burden of proof

on four issues: first, that the proposed financing is an exercise of sound and reasonable business

judgment; second, that no alternative financing is available on any other basis; third, that the

financing is in the best interests of the estate and its creditors; and, as a corollary to the first three

points, that no better offers, bids, or timely proposals are before the Court.”).

         17.       The Objections provide no basis to find that entry into the DIP Facility is not fair,

reasonable and appropriate under the circumstances. The record demonstrates (i) that the DIP

Facility remains the Debtors’ only available financing option,24 (ii) that the Debtors and DIP

Lenders negotiated the terms of the DIP Facility in good faith and at arms’ length, both prior to

and following the Petition Date,25 and (iii) that access to the DIP Facility is essential for the

Debtors’ continued operations and the preservation of their estates.26 Not a single Objection

challenges these facts. No objecting party has come forth with evidence of an alternative financing

proposal, questioned the nature or propriety of the Debtors’ negotiations with respect to the DIP

Facility, or disputed the Debtors’ need to access liquidity under the DIP Facility.

         18.       The Objections also provide no basis to determine that the DIP Facility is not in the

best interests of the Debtors, their estates, and their stakeholders. In fact, the record demonstrates

the contrary: approval of the DIP Facility will undeniably benefit the Debtors and their

stakeholders.27 Absent access to the DIP Facility, the Debtors would have insufficient liquidity to

satisfy obligations essential to their operations during these proceedings, including, but not limited


24
     See Initial Parkhill Decl. ¶¶ 13-14; First Supp. Parkhill Decl. ¶¶ 5-6, 8.
25
     See Initial Parkhill Decl. ¶¶ 15-17; Second Supp. Parkhill Decl. ¶ 6.
26
     See Initial Parkhill Decl. ¶¶ 7, 19; First Suppl. Parkhill Decl. ¶ 7; DiDonato Dec. ¶ 6.
27
     See First Suppl. Parkhill Decl. ¶¶ 7-8; DiDonato Decl. ¶¶ 7, 9.
                                                            10
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to, working capital obligations, payroll expenses, the key employee retention plan, supplier and

vendor invoices, professional fees, and overhead costs.28 Failure to secure postpetition financing

would also needlessly cause a liquidity crisis that could have a detrimental interruption on the

business, derail the Debtors’ reorganization efforts, and endanger the Debtors’ ability maximize

value for all parties in interest.29 Barring approval of the DIP Facility, the Debtors could also lose

the confidence and cooperation of their employees and key business partners, including creditors,

vendors, and customers, and be forced to modify business operations in significant and adverse

manners.30 In contrast, access to the DIP Facility provides a signal to the Debtors’ vendors,

customers, employees and the larger market that the Debtors have the ability to meet their ordinary

course obligations during the pendency of these cases, and such a signal mitigates against the

uncertainty caused by these proceedings.31 Accordingly, entry into the DIP Facility preserves the

value of the Debtors’ businesses and assets and therefore benefits the Debtors as well as their

stakeholders.32

         B.        The Remaining, Non-Governance Related Objections to Individual DIP
                   Facility Terms Do Not Provide Sufficient Basis to Disregard the Debtors’
                   Judgement to Enter into the DIP Facility.

         19.       The Objections filed by the Committee, Monster, and the U.S. Trustee challenge

certain discrete DIP Facility provisions, including: (i) the Roll Up, (ii) the milestones, (iii) the size

and nature of adequate protection provided to the DIP Lenders, (iv) the proposed challenge period

and investigation budget, and (v) the waivers of the estates’ surcharge rights under section 506(c)

of the Bankruptcy Code, the “equities of the case” doctrine, and of the Debtors’ marshaling



28
     See First Suppl. Parkhill Decl. ¶ 7; DiDonato Decl. ¶ 7.
29
     See DiDonato Decl. ¶ 10,11.
30
     See First Suppl. Parkhill Decl. ¶¶ 7-8; DiDonato Decl. ¶¶ 8-9.
31
     See Initial Parkhill Decl. ¶ 19.
32
     See Second Suppl. Parkhill Decl. ¶ 14; DiDonato Decl. ¶ 11.
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rights.33

         20.       As an initial matter, and as set forth in Summary Objection Chart, filed

contemporaneously herewith, the Debtors believe that they have settled or otherwise addressed

and resolved each of the above-noted objections by making additional modifications to the DIP

Facility, such that the only remaining objections (except for the governance issues discussed

herein) are: (i) the U.S. Trustee’s and Monster’s objections to the Roll Up, (ii) Monster’s objections

to the milestone provisions, (iii) the U.S. Trustee’s and Monster’s objections (as applicable) to the

section 506(c) of the Bankruptcy Code, “equities of the case”, and marshalling waivers, (iv) the

U.S. Trustee’s and Monster’s objections to the granting of liens on, or superpriority claims with

recourse to proceeds of certain litigation claims, and (v) the Arizona Mechanics’ Lienholders’

adequate protection-based objections. Each of these objections should be overruled for the reasons

set forth below.

                   1.       The Roll Up, as Modified, Is Fair and Reasonable Under the
                            Circumstances.

         21.       The Roll Up is the product of extensive pre- and post-petition negotiations among

the Debtors, the DIP Lenders, the Prepetition Secured Parties, and the Committee, and its inclusion

in the DIP Facility represents a sound exercise of the Debtors’ business judgment.

         22.       The Roll Up as originally set forth in the Motion (the “Initial Roll Up”) was the

result of good-faith, prepetition negotiations among the Debtors and the Prepetition Secured

Parties.34 The Initial Roll Up was a necessary inducement for the Prepetition Secured Parties to

provide the Debtors with access to postpetition financing in sufficient size and tenor and to consent

to the Debtors’ use of the Prepetition Secured Parties’ Cash Collateral during the pendency of these




33
     See Comm. Obj. passim, Monster Obj. passim, UST Obj. passim.
34
     See Initial Parkhill Decl. ¶ 26.
                                                     12
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cases.35 In addition, the Initial Roll Up provided an economic benefit to the Debtors by allowing

for the repayment of prepetition debt on more favorable terms than previously available.36

         23.       Following the Petition Date, the Debtors, the DIP Lenders, the Prepetition Secured

Parties, and the Committee engaged in further negotiations with the respect to the Roll Up,

ultimately agreeing upon the terms contained in the Final Order.37 Through that negotiation, the

terms of the Roll Up improved, from the estate’s perspective. Specifically, the Prepetition Secured

Parties and DIP Lenders agreed to reduce the Roll Up from a maximum amount of approximately

$355 million in outstanding Prepetition Obligations to $235 million in exchange for the

Committee’s support for the DIP Facility, and toggled from a “creeping” roll up structure to a

“deemed” roll up upon entry of the Final Order that allows the Debtors to realize the benefit of the

reduced interest rate on the rolled-up prepetition debt sooner than they otherwise would.38

         24.       Having now been subject to several rounds of negotiation with multiple parties, it

is clear that the Roll Up is a highly negotiated term that is essential to the DIP Lenders’ willingness

to provide the Debtors with access to the $100 million of new money DIP financing and cash

collateral.39 With this context in mind, the Court should overrule any unresolved objections to the

Roll Up asserted by the U.S. Trustee and Monster. Nevertheless, the Debtors will respond to the

specific arguments raised in the Objections below.

         25.       First, to the extent that the U.S. Trustee takes the position that all roll up

arrangements result in impermissible cross-collateralization and are therefore prohibited under




35
     See Initial Parkhill Decl. ¶ 26.
36
     See Initial Parkhill Decl. ¶ 26.
37
     See Final Order ¶ 15.
38
     See Second Suppl. Parkhill Decl. ¶ 16.
39
     See Second Suppl. Parkhill Decl. ¶ 15.
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applicable law, such position is misguided.40 The U.S. Trustee cites In re Saybrook Mfg. Co., Inc.,

963 F.2d 1490 (11th Cir. 1992), in which the 11th Circuit held that the granting of liens on

previously unencumbered assets to secure an undersecured prepetition loan constituted

unauthorized cross-collateralization under section 364 of the Bankruptcy Code. Id. at 1491,

1496.41 However, roll ups are not necessarily tantamount to cross-collateralization, particularly

where the prepetition liens subject to the roll up attach to substantially all of the debtors’ assets.

In such cases, roll ups can be construed as a repayment, from DIP proceeds, of a prepetition secured

claim – a relatively common occurrence, particularly where there is an economic benefit to the

estate from doing so. See e.g. In re Capmark Fin. Grp., Inc., 438 B.R. 471, 510-11 (Bankr. D.

Del. 2010) (“[P]repetition secured claims can be paid off through a ‘roll-up,’” and “[t]here is no

per se rule against paying pre-petition secured claims outside of a plan of reorganization.”).

Moreover, bankruptcy courts within the 11th Circuit (including after Saybrook) and elsewhere

have approved numerous debtor-in-possession facilities featuring roll ups of prepetition debt that

were justified under the circumstances, demonstrating that the U.S. Trustee’s absolutist position is

at odds with current chapter 11 practice.42 Indeed, this Court has observed that roll ups are not

inappropriate in and of themselves. See Hr’g Tr. at 68:7-11, In re Tamarac 1022, LLC, No. 20-

23346 (PDR) (Bankr. S.D. Fla. Dec. 9, 2020) (“I don’t have a problem with the rollup as a rollup


40
     See UST Objection ¶¶ 11-17.
41
     See UST Objection ¶ 13.
42
     See e.g., In re Tamarac 10200, LLC, No. 20-23346-BKC-PDR (Bankr. S.D. Fla. Dec. 31, 2020); In re 24 Hour
     Fitness Worldwide, Inc., No. 20-11558 (KBO) (Bankr. D. Del. Aug. 3, 2020); In re Northeast Gas Generation,
     LLC, No. 20-11597 (MFW) (Bankr. D. Del. July 17, 2020); In re McDermott International, Inc., No. 20-30336
     (DRJ) (Bankr. S.D. Tex. Feb. 24, 2020); In re Bumble Bee Parent, Inc., No. 19-12502 (LSS) (Bankr. D. Del. Dec.
     19, 2019); In re Sheridan Holding Company II, LLC, No. 19-35198 (MI) (Bankr. S.D. Tex. Oct. 21, 2019); In re
     Vanguard Natural Resources, Inc., No. 19-31786 (DRJ) (Bankr. S.D. Tex. Apr. 30, 2019); In re Z Gallerie, LLC,
     No. 19-10488 (LSS) (Bankr. D. Del. Apr. 9, 2019); In re CTI Foods, LLC, No. 19-10497 (CSS) (Bankr. D. Del.
     Apr. 5, 2019); In re Charlotte Russe Holding, Inc., No. 19-10210 (LSS) (Bankr. D. Del. Mar. 7, 2019); In re The
     Bon-Ton Stores, Inc., No. 18-10248 (Bankr. D. Del. Mar. 12, 2018); In re Ameriforge Group Inc., No. 17-32660
     (DRJ) (Bankr. S.D. Tex. May 22, 2017); In re Chassix Holdings, Inc., No. 15-10578 (Bankr. S.D.N.Y. Apr. 10,
     2015); In re Carpenter Contractors of America, Inc., d/b/a R&D Theil, No. 10-B-42604-RBR (Bankr. S.D. Fla.
     Apr. 6, 2011).
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[. . . .] I’ve been in cases where entire loans have been rolled up as well.”).

         26.       Second, evaluation of a roll up requires consideration of the impact of the roll up

on the bankruptcy estate, including the potential to enhance the prepetition lender’s collateral

package at the expense of unsecured creditors. See e.g., Bayside Capital Inc. v. TPC Group Inc.,

Adv. Pro. No. 22-50372 (CTG), 2022 WL 2498751, at *11 (Bankr. D. Del. July 7, 2022)

(“[R]olling up that debt (and thereby granting it administrative claim status in the bankruptcy

case) has relatively little effect on other creditors. If the value of the collateral would, in any

event, go first to pay the [prepetition noteholders][. . .]”); see also Hr’g Tr. at 58:1-7, In re Tamarac

1022, LLC (“My concern is [. . .] what impact this roll up will have on the administrative level

claim, and whether that administrative level claim is secured by the proceeds of the avoidance

actions, or would partake in the proceeds of the avoidance actions before unsecured creditors

would be able to participate in those.”).

         27.       The Roll Up does not constitute such a disfavored “collateral grab” by the DIP

Lenders. The Prepetition Liens already encumber substantially all of the Debtors’ assets – a fact

to which the Debtors, after conducting due diligence, stipulated in the Interim Order and Final

Order.43 The Debtors recognize that their stipulations are not binding on other, non-Debtor parties

in interest, and remain subject to Challenge under the Final Order.44 However, if a successful

Challenge results in a determination that there were meaningful gaps in the Prepetition Secured

Parties’ prepetition collateral package, then the Final Order affords the Court the flexibility to

fashion an appropriate remedy to redress any prejudice to unsecured creditors that might have




43
     See Interim Order ¶ E(iii); Final Order ¶ E(iii).
44
     See Final Order ¶ 40.
                                                         15
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occurred due to the Roll Up.45 If no such Challenge prevails, then the Prepetition Secured Parties

will not have improved their collateral position at all through the Roll Up. This is particularly true

in light of the DIP Lenders’ agreement to exclude the only potentially meaningful unencumbered

assets in the Debtors’ bankruptcy estates (i.e., proceeds of Prepetition Avoidance Actions and

Commercial Tort Claims on which the Prepetition Secured Parties did not previously have

perfected liens) from the scope of the DIP Liens and the DIP Superpriority Claims securing the

rolled up portion of the DIP Obligations.46

         28.      Far from being an effort to improve their collateral position, the DIP Lenders’

insistence on the Roll Up reflects their consistent objective (and demand) throughout the

forbearance period: to have their loans repaid in full, in cash. In prepetition negotiations with the

Debtors, the Prepetition Secured Lenders agreed to provide a longer “bridge” to a value-

maximizing transaction by extending the DIP Facility maturity date from their original proposal

of four months to seven months, and increasing the size of the DIP Facility from $49 million in

new money to $100 million in new money. In exchange, the DIP Lenders demanded protection

against their DIP Facility being used to bridge to a “cram up” plan. That protection came in the

form of an increased Roll Up, which was and is a fair, reasonable, and ultimately a mutually

beneficial arrangement for the Debtors and the DIP Lenders.

         29.      Third, the Roll Up benefits the Debtors and their estates by providing substantial

savings due to the fact that the DIP Loans bear interest at a lower rate (1-month SOFR + 8.50% or

Base Rate + 7.50%) than the Prepetition Loans (Base Rate + 6.50% + 2.00%, and not less than

15% in any event), which interest would accrue postpetition on the Prepetition Loans at the



45
     See Final Order ¶ 33. The inclusion of this provision in the Final Order should also alleviate the concerns raised
     by Monster that the Roll Up will have the effect of providing the rolled up portion of the DIP Obligations with
     “unavoidable liens” over existing collateral. See Monster Obj. ¶ 20.
46
     See Final Order ¶ 5 (definition of DIP Collateral, which excludes Prepetition Avoidance Actions).
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contract rate to the extent they remained outstanding. See First United Sec. Bank v. Garner (In re

Garner), 663 F.3d 1218, 1220 (11th Cir. 2011) (“There is no dispute that interest accumulated

between filing the bankruptcy petition and confirmation of the bankruptcy plan is calculated at the

contract rate under Section 506(b).”); 11 U.S.C. § 506(b).

         30.      Finally, Monster asserts that the ratio of rolled up debt to new money financing

(i.e., the “roll up ratio”) is off-market and therefore objectionable.47 Notably, the current roll up

ratio is 2.35:1, a significant reduction from the 3.55:1 ratio under the original DIP Facility. But in

any event, the Debtors submit that the roll up ratio is not determinative as to the fairness or

reasonableness of the Roll Up or the broader terms of the DIP Facility. The roll up ratio reveals

little about the actual impact of the Roll Up on the Debtors’ estates and stakeholders, which is a

central consideration in evaluating the DIP Facility terms. See Bland v. Farmworker Creditors,

308 B.R. at 113-14. Nonetheless, the DIP Facility’s roll up ratio is far from unprecedented. Courts

in numerous recent cases have approved roll ups with ratios of this size or larger.48 Indeed, five

of the sixteen cases relied upon in the declaration filed in support of the Committee’s now-resolved

Objection featured higher roll-up ratios than the DIP Facility, as currently proposed. Accordingly,

to the extent relevant, the roll up ratio under the DIP Facility does not support a conclusion that




47
     See Monster Obj. ¶¶ 21, 23.
48
     See e.g. In re Phoenix Servs. Topco LLC, No. 22-10906 (MFW) (Bankr. D. Del. Nov. 2, 2022) (authorizing
     postpetition financing with 3-to-1 roll-up of $150 million in prepetition loans and $50 million in new money);
     Strike, LLC, No. 21-90054 (DRJ) (Bankr. S.D. Tex. Jan. 4, 2022) (authorizing postpetition financing with 3.3-to-
     1 roll-up of $86.6 million in prepetition loans and $26 million in new money); In re Nine Point Energy Holdings,
     Inc., No. 21-10570 (MFW) (Bankr. D. Del. Apr. 12, 2021) (authorizing postpetition financing with 3-to-1 roll-up
     of $59 million in prepetition loans and $20 million in new money); In re Tailored Brands, Inc., No. 20-33916
     (MI) (Bankr. S.D. Tex. Sept. 2, 2020) (authorizing postpetition financing with 3.9-to-1 roll-up of $398 million in
     prepetition loans and $102 million in new money); In re GNC Holdings, Inc., No. 20-11662 (KBO) (Bankr. D.
     Del. July 21, 2020) (authorizing postpetition financing with 3.8-to-1 roll-up of $375 million in prepetition loans
     and $100 million in new money); In re Colt Defense LLC, Case No. 15-11296 (LSS) (Bankr. D. Del. July 10,
     2015) (authorizing postpetition financing with 5.5-to-1 roll-up of $55 million in prepetition loans and $10 million
     in new money).
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the Roll Up falls outside the bounds of reasonableness and is a provision required by the DIP

Lenders if the Debtors want to obtain access to the DIP Facility.

                  2.       The Milestones are Appropriate and Sufficient.

         31.      As a result of further negotiations among the Debtors, the DIP Lenders, and the

Committee, the parties have agreed to modify the milestone and maturity provisions in the DIP

Facility to afford the Debtors more runway to conduct their investment banking and marketing

process.

         32.      The revised milestones are set forth in the table below:

                          Milestone                            Original Date         Modified Date
 Deadline to receive indication of interest regarding        N/A                   January 13, 2023
 acceptable financing and/or an acquisition of all or
 substantially all of the Debtors’ assets
 Deadline to file bid procedures motion in form and          January 23, 2023      January 27, 2023
 substance reasonably acceptable to the DIP Agent
 (the “Bid Procedures Motion”).
 Deadline for hearing on the Bid Procedures Motion           February 22, 2023     February 28, 2023
 Transaction Milestone Deadline                              January 23, 2023      March 13, 2023
 Deadline to designate a “stalking horse” reasonably N/A                           March 31, 2023
 acceptable to the DIP Agent and the Prepetition
 Agent (if the Debtors are pursuing the Sale Process)
 Deadline to have held an auction (if necessary)             April 8, 2023         April 19, 2023
 DIP Outside Maturity Date                                   May 10, 2023          May 24, 2023

         33.      The revised milestones reflect a further compromise among the Debtors, the DIP

Lenders, the Prepetition Secured Parties, and the Committee. Specifically, the extensions of the

Transaction Milestone and the outside maturity date give the Debtors additional time to complete

a thorough investment banking process,49 and one that is significantly longer than in other cases




49
     See Second Suppl. Parkhill Decl. ¶ 13.
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featuring DIP milestones.50 In addition to the milestone extensions, the Final Order provides the

Committee with certain consultation rights in connection with the marketing process.51 In

particular, the Committee has consultation rights with respect to (i) the form and substance of the

certification to be delivered to the DIP Agent relating to the January 13 indication of interest

milestone;52 (ii) (a) the form and substance of bona fide commitment papers to be delivered to the

DIP Agent and (b) the motion to designate a “staking horse”, in each case, relating to the March

13 Transaction Milestone;53 and (iii) the form and substance of the order approving the designation

of a “stalking horse” prior to the March 31 milestone.54

         34.      Moreover, the inclusion of the additional interim milestones provides other parties

in interest with greater visibility and certainty during the marketing and financing process.55 Thus,

to the extent Monster is alleging that the milestones, as originally composed, lacked sufficient

structure and could lead to a forced sale or an otherwise value destructive transaction, the

additional clarity and extended deadlines set forth in the proposed Final Order should sufficiently

address such concerns.56

                  3.        The Waivers of the Section 506(c) Surcharge Claims, the “Equities of
                            the Case” Doctrine, and Marshaling Rights Represent a Sound
                            Exercise of Business Judgement.

         35.      The Committee, Monster, and the U.S. Trustee each objected to the waivers of


50
     See, e.g., Liberty Power Holdings, LLC, No. 21-13797-SMG (Bankr. S.D. Fla. May 27, 2021) (approving
     milestone of 45 days from petition date for entry of bid procedures motion and 82 days thereafter for auction); In
     re Tamarac 10200, LLC, No. 20-23346-PDR (Bankr. S.D. Fla. Dec. 31, 2020) (approving milestone of 25 days
     from petition date for entry of bid procedures order and 19 days thereafter for auction); In re Land Res., LLC, No.
     08-10159-ABB (Bankr. S.D. Fla. Dec. 22, 2008) (approving milestone of 50 days from the petition date for entry
     of bid procedures order and 34 days thereafter for consummation of sale).
51
     See Final Order ¶ 46(a), (d) and (e).
52
     See Final Order ¶ 46(a).
53
     See Final Order ¶ 46(d).
54
     See Final Order ¶ 46(e).
55
     See Second Suppl. Parkhill Decl. ¶ 13.
56
     See Monster Objection ¶ 19.
                                                          19
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(i) the estates’ surcharge rights under section 506(b) of the Bankruptcy Code, and (ii) the “equities

of the case” doctrine under section 522(b) of the Bankruptcy Code. The Committee has agreed to

no longer pursue these objections as part of the comprehensive settlement reached with the Debtors

and DIP Lenders. And the Objections of Monster and the U.S. Trustee should be overruled, as the

Debtors’ decision to waive these estate claims constitutes an exercise of sound business judgment.

Furthermore, such waivers are commonplace in the market and appropriate under the

circumstances of these chapter 11 cases.57

         36.      Section 506(c) Waiver. Section 506(c) of the Bankruptcy Code permits a debtor to

recover from a secured creditor’s collateral the cost of preserving or disposing of such collateral.

The Supreme Court has made clear that rights under section 506(c) of the Bankruptcy Code belong

to the debtor and its estate and are not available to any other party in interest. See Hartford

Underwriters Ins. Co. v. Union Planters Bank, N.A., 530 U.S. 1, 6, 120 S. Ct. 1942, 1947, 147 L.

Ed. 2d 1 (2000) (“The question thus becomes whether it is a proper inference that the trustee is the

only party empowered to invoke the provision. We have little difficulty answering yes.”). As the

rights under section 506(b) of the Bankruptcy Code belong to the Debtors’ estates, the decision to

waive such rights falls squarely within the exercise of the Debtors’ business judgment.58

         37.      The primary rationale for applying section 506(c) of the Bankruptcy Code – to

prevent a windfall to a secured creditor by allowing unencumbered assets to be used during the

pendency of the case for the secured creditor’s benefit – does not exist here. See e.g. In re JKJ

Chevrolet, Inc., 26 F.3d 481, 483 (4th Cir. 1994) (“The purpose of this provision is to prevent a

windfall to a secured creditor at the expense of the estate.”). The Prepetition Agent, for the benefit



57
     See Second Suppl. Parkhill Decl. ¶ 9.
58
     See, e.g., In re It’Sugar FL I LLC, et al., No. 20-20259-RAM (Bankr. S.D. Fla. Nov. 19, 2020) (approving 506(c)
     waiver); In re Quorum Health Corp., No. 20- 10766 (KBO) (Bankr. D. Del. May 6, 2020) (same); In re Just One
     More Restaurant, Inc., et al., No. 9:19-bk-1947-MDM (Bankr. M.D. Fla. Feb. 26, 2020) (same).
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of the other Prepetition Secured Parties, holds, valid, perfected liens on substantially all of the

Debtors’ assets.59 Either, as the Debtors believe, the Prepetition Secured Parties and DIP Secured

Parties are, and will remain, oversecured (in which case the secured parties are not the residual

beneficiaries of the Debtors’ efforts in administering these cases); or, they are undersecured, in

which case the costs of administering the Debtors’ bankruptcy proceedings, including the payment

of administrative expenses, would be borne solely by the Prepetition Secured Parties, the DIP

Agent, and DIP Lenders by virtue of their agreement to extend DIP financing and permit the use

of their Cash Collateral for these purposes (in accordance with the Approved Budget), as well as

to fund the Carve-Out upon the occurrence of an event of default and foreclosure. The negotiated

Carve-Out ensures that, even in a worst case scenario, the Debtors will be able to cover the costs

of these cases, including professional fees accruing prior to the Carve-Out being triggered and

wind-down professional fees up to $2.5 million.60

         38.       Accordingly, the Prepetition Secured Parties and DIP Lenders have already agreed

to “pay the freight” of these cases; their request that they not be surcharged again is reasonable.

Bankruptcy courts, in this district and elsewhere, frequently approve 506(c) waivers as appropriate

when, as here, a secured creditor has agreed to the use of its cash collateral to pay administrative

expenses and to subordinate its liens to a carve out for professional fees and other administrative

expenses, as the Prepetition Secured Parties, DIP Agent, and DIP Lenders have done. See, e.g., In

re It’Sugar FL I LLC, et al., No. 20-20259-RAM (Bankr. S.D. Fla. Nov. 19, 2020); In re Quorum

Health Corp., No. 20- 10766 (KBO) (Bankr. D. Del. May 6, 2020); In re Just One More

Restaurant, Inc., et al., No. 9:19-bk-1947-MDM (Bankr. M.D. Fla. Feb. 26, 2020).




59
     See Interim Order ¶ E(iii); Final Order ¶E(iii).
60
     See Final Order ¶ 37.
                                                        21
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         39.       With respect to Monster’s concerns about the payment of a perpetual royalty

payment equal to 5% of net sales of Bang-branded beverages (the “Ongoing Royalties”), the

DiDonato Declaration makes clear that the Approved Budget contains sufficient funding, in the

“Other” line item, to pay such amounts if and when it becomes necessary (and the Debtors reserve

the right to dispute that immediate payment of such amounts is necessary or appropriate).61

Additionally, in an effort to resolve these issues and eliminate any concerns about the Debtors’

ability to honor Ongoing Royalties, the Debtors have indicated their willingness to escrow

postpetition Ongoing Royalties as they accrue (on a bi-weekly basis), and discussions with

Monster concerning such proposal are ongoing as of the filing of this Reply.62

         40.       Section 552(b) “Equities of the Case” Waiver. Objections to the “equities of the

case” waiver should likewise be overruled, given that the Prepetition Secured Parties are funding

the expenses of these cases through DIP financing and consenting to the use of their cash collateral.

Under section 552(b) of the Bankruptcy Code a secured creditor’s prepetition security interest in

the proceeds of collateral generally extends to such proceeds acquired postpetition, however, there

is a limited exception to the extent that the “equities of the case” require. See 11 U.S.C. § 552(b).

         41.       As noted above, the Prepetition Agent, for the benefit of the other Prepetition

Secured Parties, has liens on substantially all of the Debtors’ assets, and the administration of the

Debtors’ cases is being funded entirely by the Prepetition Secured Parties’ Cash Collateral and the

DIP financing being provided by the DIP Lenders.63 Any appreciation in the value of the

Prepetition Secured Parties’ collateral from the Debtors’ postpetition operations, therefore, will

necessarily result from the use of the Prepetition Secured Parties’ existing collateral. Therefore, it




61
     See DiDonato Decl. ¶ 5.
62
     See DiDonato Decl. ¶ 5.
63
     See Interim Order ¶ E(iii); Final Order ¶ E(iii).
                                                         22
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is difficult from the Debtors’ standpoint to envision any circumstance in which the “equities of the

case” would warrant cutting off the Prepetition Secured Parties’ continuing interest in the proceeds

of their collateral, and the Debtors acted well within the bounds of their business judgment in

agreeing to waive such arguments.

         42.     Like the section 506(c) waiver, waivers of the “equities of the case” exception are

commonplace in favor of lenders who have agreed to fund the expenses of chapter 11 cases. See,

e.g., In re Tamarac 10200, LLC, No. 20-23346-BKC-PDR (Bankr. S.D. Fla. Dec. 31, 2020)

(approving a section 506(c) waiver coupled with a professional fee carve out and an equities of the

case waiver); In re It’Sugar FL I LLC, et al., No. 20-20259-RAM (Bankr. S.D. Fla. Nov. 19, 2020)

(same); In re Maguire Group Holdings, Inc., No. 11- 39347-BKC-RAM (Bankr. S.D. Fla. Oct. 27,

2011) (same); In re Carpenter Contractors of America, Inc., d/b/a R&D Theil, No. 10-B-42604-

RBR (Bankr. S.D. Fla. Apr. 6, 2011) (same).

                 4.       The Waivers of Estate Marshaling Rights Are Appropriate.

         43.     Monster opposes the waiver of the equitable doctrine of marshaling contained in

the Final Order.64 As a threshold matter, courts generally find that “unsecured creditors cannot

invoke the equitable doctrine of marshaling.” See e.g. In re Advanced Mktg. Servs., Inc., 360 B.R.

421, 427 (Bankr. D. Del. 2007) (holding that an unsecured creditor could not direct secured lenders

to satisfy their claim using different collateral because marshalling is a protection for junior

secured creditors); In re Arlco, Inc., 239 B.R. 261, 274 (Bankr. S.D.N.Y. 1999) (stating that “[a]n

unsecured creditor has no standing to invoke the doctrine”).

         44.     While it is true that courts have held that an unsecured creditors’ committee may

have derivative standing to invoke the doctrine of marshaling on behalf of a debtor’s estate, and

therefore to object to its waiver in a postpetition financing package, the same is not true of


64
     See Committee Obj. ¶ 59; Monster Obj. ¶ 32.
                                                   23
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individual unsecured creditors, such as Monster. And the cases cited in the Monster Objection do

not demonstrate otherwise. In America’s Hobby, the court analyzed whether the official committee

of unsecured creditors (not an unsecured creditor itself) had standing to invoke marshaling. See

In re Am.'s Hobby Ctr., Inc., 223 B.R. 275, 282 (Bankr. S.D.N.Y. 1998). Similarly, in In re Bame,

the court approved a Chapter 7 trustee’s request to require taxing authorities to look to certain

collateral to satisfy their liens prior to receiving distributions from the estates (which ultimately

did benefit unsecured creditors), but the marshaling doctrine was not invoked by unsecured

creditors themselves. See In re Bame, 279 B.R. 833, 836 (B.A.P. 8th Cir. 2002). In sum, the cases

cited by Monster, at best, show that the Committee may have standing to object to the waiver of

the doctrine of marshaling, but not that Monster would. Lastly, the benefits provided to the

Debtors’ estates and stakeholders under the DIP Facility outweigh any claims on account of

marshaling, which would make it difficult for Monster to meet the standard to provide a committee

with standing. See In re Am.'s Hobby Ctr., Inc., 223 B.R. 275, 282 (Bankr. S.D.N.Y. 1998) (“(i)

whether the ‘committee presents a colorable claim or claims for relief that on appropriate proof

would support a recovery [. . . ] and (ii) whether an action asserting such claim[s] is likely to benefit

the reorganization estate.”) (quoting In re STN Enterprises, 779 F.2d 901, 904–05 (2d Cir. 1985)

(internal quotations omitted)).

         45.    Furthermore, even assuming that Monster could obtain derivative standing to assert

marshaling rights of the estate standing in the shoes of a hypothetical lien creditor, the Debtors

retained the discretion to agree to the marshaling waiver in exchange for the ample benefits they

derive from the DIP Facility. See Hr’g Tr. 92:22–93:11, In re MPM Silicones, LLC et al., Case

No. 14-22503 (Bankr. S.D.N.Y. May 27, 2014) (Docket No. 270) (approving a no-marshaling

provision in a cash collateral order and commenting that “[g]enerally speaking, this is the debtor’s

right to negotiate or secured creditors’ right to insist on”). Unsurprisingly, courts in this


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jurisdiction regularly approve waivers of the equitable doctrine of marshalling. See, e.g., In re

Tamarac 10200, LLC, No. 20-23346-BKC-PDR (Bankr. S.D. Fla. Dec. 31, 2020); In re Liberty

Power Holdings, LLC, No. 21-13797-BKC-SMG (Bankr. S.D. Fla. May 27, 2021); In re American

Purchasing Servs., LLC, No. 20-23495-BKC-SMG (Bankr. S.D. Fla. Dec. 16, 2020); In re

TooJay’s Mgmt LLC, No. 20-14792-BKC-EBK (Bankr. S.D. Fla. June 26, 2020); Land Resource,

LLC, et al.; Case No. 6:08-bk-10159-ABB (same).

         46.      Finally, as part of the overall resolution of the Committee Objection, the DIP

Lenders have agreed to certain exclusions from the marshaling waiver (as well as exclusions from

their collateral package and assets from which their superpriority claims can be recovered) that

should address, at least in part, the concerns raised by Monster. Specifically, the DIP Lenders

have agreed to (i) carve out previously unencumbered litigation claims from the assets to which

they have recourse on account of the Roll Up portion of the DIP Obligations loans, and (ii) on DIP

Obligations constituting the non-Roll Up portion of the DIP Obligations (i.e., up to $100 million),

the DIP Lenders have agreed to exhaust “all avenues of recovery from other DIP Collateral” before

recovering from Commercial Tort Claims against insiders or affiliates of the Debtors.65 The

Debtors submit that the marshaling waiver is appropriate, especially in light of the foregoing

concessions.

                  5.       The DIP Lenders and Prepetition Lenders Can Have Recourse to the
                           Proceeds of Litigation Claims.

         47.      The U.S. Trustee and Monster challenge the Debtors’ original grant of a DIP

Superpriority Claim with recourse to the proceeds of Prepetition Avoidance Actions, and Monster

also takes issue with the DIP Lenders and Prepetition Lenders having recourse to other potential




65
     See Final Order ¶ 61(a).
                                                25
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litigation claims, asserting that the Court should not allow an “end-run” around a potentially

meaningful source of recovery for unsecured creditors.66

         48.       However, avoidance actions and other causes of action are estate assets that may

be used in accordance with the Debtors’ business judgment for the benefit of their estates –

including to obtain postpetition financing or provide adequate protection. See e.g., Trans World

Airlines, 163 B.R. 964, 972 (Bankr. D. Del. 1994) (“Section 550(a) requires a benefit to the

“estate,” not to creditors. “Estate” is a broader term than “creditors.” And there is no requirement

that an avoidance action recovery be distributed (or “committed”) in whole or in part to

creditors.”); In re AppliedTheory Corp., Case No. 02-11868 (REG), 2008 WL 1869770, at *1

(Bankr. S.D.N.Y. Apr. 24, 2008) (“Of course [proceeds from avoidance actions] started out

unencumbered. But those assets can thereafter be encumbered (or made available to satisfy

superpriority claims), if necessary to provide adequate protection.”). Here, the Debtors do benefit

from providing these assets as a potential source of recovery because doing so was necessary to

obtain the financing offered under the DIP Facility, which is essential to the Debtors’ ability to

preserve their business, pay the costs of these cases, and maximize value for all stakeholders.67

         49.       It is not unreasonable for lenders to insist on incremental collateral to support

incremental financing – here, that incremental financing is the $100 million of new money DIP

financing. And because substantially all of the Debtors’ assets are encumbered by the Prepetition

Liens, and accordingly, the only “incremental collateral” recovery for the DIP Lenders (or the

Prepetition Secured Parties on account of their adequate protection claims) are proceeds of

Avoidance Actions and other litigation claims that were not subject to the Prepetition Liens.

Notably, the DIP Lenders’ recourse to such claims as a source of recovery is limited, under the



66
     See UST Objection ¶ 26; Monster Objection ¶ 28.
67
     See Initial Parkhill Dec. ¶ 20.
                                                       26
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Final Order, to the claims in respect of new money financing only. Claims based on the Roll Up

portion of the DIP Obligations will not have access to any litigation claims (or proceeds thereof)

that were not already subject to valid and perfected prepetition liens.68 In addition, the DIP Lenders

have agreed to carve out from the assets available to satisfy their new money claims preference

actions arising under section 547 of the Bankruptcy Code,69 and agreed not to seek recovery from

Commercial Tort Claims against insiders or affiliates of the Debtors until all other avenues of

recovery from the DIP Collateral are exhausted.70 These concessions – which were the subject of

good faith, arms’ length, bargaining between the DIP Lenders and the estate fiduciaries – should

allay any concerns about the fairness of allowing the DIP Lenders to recover from litigation claims,

to the extent necessary. 71

         50.       Likewise, the Prepetition Secured Parties’ recourse to litigation claims on account

of their statutory entitlement to adequate protection should not be objectionable. Such recoveries

would be limited solely to those amounts necessary to compensate the Prepetition Secured Parties

for actual diminution in the value of their interests in the Prepetition Collateral arising from the

imposition of the automatic stay, the Debtors’ continued use of the Prepetition Collateral, or the

incurrence of DIP financing.72 Notably, even if the Final Order did not grant the Prepetition

Secured Parties such recourse to litigation claim proceeds, the Bankruptcy Code would provide it

by operation of section 507(b) if there were otherwise a failure of adequate protection.73 Granting



68
     See Final Order ¶¶ 61(a), (b); see also Final Order ¶¶ 5, 61 n.10 (definition of “DIP Collateral” excludes
     Prepetition Avoidance Actions).
69
     See Final Order ¶ 61(b).
70
     See Final Order ¶ 61(a).
71
     See Second Suppl. Parkhill Dec. ¶ 6.
72
     See Final Order ¶ I(ii).
73
     See 11 U.S.C. § 507(b) (granting secured creditors who have been granted adequate protection superpriority
     administrative expense claims “hav[ing] priority over every other claim allowable under [section 507(a)(2)],”
     without limiting the source of recovery on such claim).
                                                       27
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such recourse as part of a consensual adequate protection package is no less appropriate.74

                  6.        Arizona Mechanics’ Lienholders’ Adequate Protection-Based
                            Objections Should be Overruled.

         51.      The Arizona Mechanics’ Lienholders argue that their interests in the Arizona Real

Property against which they have asserted mechanics’ liens (the “Mechanics’ Liens”) are not

being adequately protected in connection with the DIP Facility, but this is not the case. To the

extent that the Mechanics’ Liens are valid, properly perfected, non-avoidable, and senior in priority

as a matter of law to the Prepetition Liens, the Interim Order and proposed Final Order preserve

that senior priority. The Final Order does not permit valid prepetition liens senior in priority to

the Prepetition Liens to be primed by the Prepetition Liens, DIP Liens, the Carve-Out, or anything

else.75 The definition of Prepetition Prior Lien in the Final Order memorializes this concept, as it

encompasses all “liens that are valid, properly perfected (before the Petition Date or in accordance

with section 546 of the Bankruptcy Code), non-avoidable, and senior in priority as a matter of law

to the Prepetition Liens.”76 Thus, to the extent the Mechanics’ Liens are Prepetition Prior Liens,

they will remain senior in priority to the Prepetition Liens, the DIP Liens, the Adequate Protection

Liens, and the Carve-Out.

         52.      In the Final Order, the DIP Lenders have since agreed that even if the Mechanics’

Liens are junior to the Prepetition Liens, the Arizona Mechanics’ Lienholders’ existing priority



74
     In addition, the cases Monster cites to for the proposition that courts routinely exclude commercial tort claims
     from the scope of adequate protections liens and superpriority claims, are cases that involved consensual DIP
     financing orders where the debtor and lenders agreed to carve out such claims. See, e.g., In re Aralez
     Pharmaceuticals US Inc., Case No. 18-12425 (MG), Docket No. 98 (Bankr. S.D.N.Y. Sept. 14, 2018) (consensual
     DIP financing order); In re The Weinstein Company Holdings LLC, Case No. 18-10601 (MFW), Docket No. 267
     (Bankr. D. Del. Apr. 19, 2018) (same); In re Gymboree Group, Inc., Case No. 19-30258 (KLP), Docket No. 348
     (Bankr. E.D. Va. Feb. 15, 2019) (same); In re Frank Theatres Bayonne/South Cove, LLC, Case No. 18-34808
     (SLM), Docket No. 212 at ¶ 3(b)-(c) (Bankr. D. N.J. Jan. 28, 2019) (same); In re Promise Healthcare Group,
     LLC, Case No. 18-12491 (CSS), Docket No. 218 (Bankr. D. Del. Dec. 4, 2018) (same); In re SFX Entertainment,
     Inc., Case No. 16-10238 (MFW), Docket No. 203 (Bankr. D. Del. Mar. 8, 2016) (same).
75
     See Final Order ¶¶ 6, 37(i).
76
     See Final Order ¶ E(iv).
                                                         28
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in their collateral will be fully preserved, and the total value of DIP Liens and Prepetition Liens,

in the aggregate, shall not exceed the total amount of Prepetition Obligations already secured by

the Prepetition Liens (i.e., $354,770,201.56).77 Accordingly, there can be no Diminution in Value

of the Mechanics’ Liens resulting from the priming DIP Liens, as a definitional matter. Moreover,

as set forth in the DiDonato Declaration, the Debtors continue to pay expenses necessary to

maintain the value of the Arizona real property that is allegedly subject to the Mechanics’ Liens

(including taxes, utilities, and insurance) and, therefore, the Debtors submit that the Arizona

Mechanics’ Lienholders are adequately protected from any diminution in value that could

potentially result from the imposition of the stay and/or the Debtors’ continued use of the

property.78 And finally, as a backstop, the Arizona Mechanics’ Lienholders will continue to

receive replacement liens and superpriority claims for any Diminution in Value they do, in fact,

suffer – giving the Arizona Mechanics’ Lienholders access to value in respect of such adequate

protection claims that they do not enjoy today. Accordingly, it is beyond doubt that the adequate

protection offered to the Arizona Mechanics’ Lienholders under the Final Order is sufficient.

         53.      Separately, in discussions with the Debtors, the Arizona Mechanics Lienholders

expressed a desire to preserve marshaling rights against the Prepetition Secured Parties and DIP

Secured Parties (in its Objection, Stellar does raise this issue in passing, but otherwise none of the

Arizona Mechanics’ Lienholders raised this in their filed Objections). In an effort to resolve the

Arizona Mechanics’ Lienholders’ Objections, the Debtors, DIP Lenders, and Prepetition Lenders

have agreed to preserve such arguments (and the lenders’ defenses thereto) notwithstanding the

marshaling waiver that is otherwise proposed to be granted under the Final Order.79




77
     See Final Order ¶ 5.
78
     See DiDonato Decl. ¶ 15.
79
     See Final Order ¶ 47.
                                                 29
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         54.     In light of the foregoing changes, the Debtors submit that, to the extent not resolved

consensually, the Arizona Mechanics Lienholders’ objections should be overruled.

                                           CONCLUSION

         55.     For these reasons, the Debtors respectively requests that the Court deny the

Objections in their entirety and enter the Final Order in the form submitted for entry.

 Dated:      December 14, 2022                              Respectfully submitted,
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